Case 4:16-cv-01414 Document 681

October 21, 2019

Chief Judge Rosenthal

515 Rusk Street, Room 11535
Houston, TX 77002

2118 Swift Blvd.
Houston, TX 77030

Dear Judge Rosenthal:

Filed on 10/21/19 in TXSD Pageiof1

United States Courts
Southern District of Texas
FILED

OCT 21 2019

David J. Bradley, Clerk of Court

Notice of Intent to Appear

As a long-time resident of Harris County, | intend to be present in your court on Monday,
October 28, 2019, to speak on case 4:16-cv-01414, the Misdemeanor Bail Settlement.

Respectfully,

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Olga C. Watkins, Ph.D.

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